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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK

RUIZHENG AN,
                                                     No. 1:20-cv-06555-MKV
                       Plaintiff,

       v.                                            COMPLAINT FOR
                                                     1. Violation of Sections 12(a)(1) of the
GTV Media Group Inc., a Delaware                        Securities Act
corporation, Saraca Media Group Inc., a              2. Violation of Section 15(a) of the Securities
Delaware corporation, Wengui Guo,                       Act
                                                     3. Violation of the Washington Securities Act
                       Defendants.




                                    I. NATURE OF THE ACTION

        1.      This suit seeks the return of approximately $500,000, together with statutory

interest and attorneys’ fees, which Defendants procured from Ruizheng An (“An”) through the

sale of unregistered securities in violation of the Securities Act of 1933 (the “Securities Act”) and

Washington Securities Act, Chapter 21.20 RCW (the “ Washington Act”) (collectively the “Acts”).

        2.      Both Acts forbid the sale of unregistered securities and allows purchasers of

unregistered securities to assert joint and several liability against anyone whose acts were

substantial contributing factors in the sales transaction.

        3.      The Securities Act requires the seller to return the purchase price of the unregistered

securities plus any interest.
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         4.      The Washington Act requires sellers and controllers to return the purchase price of

unregistered securities plus statutory 8% interest from the date of sale, together with reasonable

attorneys’ fees.

         5.      Defendant Guo caused the establishment of GTV Media Group Inc. (“GTV”) on

April 17, 2020. Shortly after establishing GTV, Guo and GTV began to solicit investors to invest

in GTV by purchasing the company stock (the “Offering”).

         6.      The securities were neither registered as required under both Acts, nor subject to

any exemption from registration.

         7.      GTV as seller, and the remaining defendants, as persons who substantially

participated in and contributed to the conduct of the Offering, violated the Securities Act and

Washington Act through their sale of unregistered securities.

         8.      After being solicited by Wengui Guo, Plaintiff’s Mr. An signed a Subscription

Agreement on May 2, 2020 and wired 500,000 USD to Saraca Media Group Inc. (“SMG”), the

designated recipient of investment funds, on May 12, 2020, which is the parent company of GTV,

therefore every defendant is jointly and severally liable for $500,000, together with 8% interest

dating from May 12, 2020, and attorneys’ fees.

                               II. JURISDICTION AND VENUE

         9.      This Court has subject matter jurisdiction over the claims pursuant to 28 U.S.C.

§ 1331 because the Plaintiff asserts claims under the Securities Act of 1933.

         10.     This Court has personal jurisdiction over the Corporate Defendants because the

corporate entities reside in this state by virtue of each maintaining its principal place of business

in this state.

         11.     This Court has personal jurisdiction over Defendant Guo because he resides in this

state.

         12.     This Court has personal jurisdiction over all defendants because, as described in

greater detail below, each defendant purposely availed themselves of the privilege of conducting
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business activities within this state, thus invoking the benefits and protection of the laws of New

York.

        13.      This Court has personal jurisdiction over all defendants because, as described in

greater detail below, each defendant committed activities in violation of the Acts in this state and

judicial district.

        14.      Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391(b)(1) and (2) because

the corporate defendants maintain operations and principal places of businesses in this state and

judicial district. Furthermore, the individual defendant resides in this state and judicial district.

                                           III. PARTIES

        15.      Plaintiff Ruizheng An, a foreign national residing in Washington, invested

$500,000 by wiring this sum to Defendants Saraca and Guo’s designated receiving account on

May 12, 2020.

        16.      Upon information and belief, Plaintiff alleges Defendant GTV Media Group Inc.

(“GTV”) is a Delaware Limited Liability Company with its principal place of business in New

York.

        17.      Upon information and belief, Plaintiff alleges Defendant Saraca Media Group Inc.

(“SMG”) is a Delaware corporation with a principal place of business in New York.

        18.      Upon information and belief, Plaintiff alleges SMG is the parent company of GTV.

        19.      Upon information and belief, Plaintiff alleges Defendant Wengui Guo is and at all

time mentioned herein a foreign national residing in the State of New York. Defendant Guo

controls SMG and GTV.

                                             IV. FACTS

        20.      GTV is the brainchild of Defendant Guo, a wealthy self-prescribed political

dissident from China with a large number of social media followers in the U.S.

        21.      Guo conceived GTV to be a Tik-Tok like video streaming social-media platform

for user-generated political content.
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       22.     On May 6, 2019, SMG entered into a “Software Development Agreement” with

Mr. An’s company, WA&HF in which WA&HF agreed to develop the GTV video broadcast

platform and its website (the “GTV APP”).

       23.     Over the course of 2019 and early 2020, WA&HF performed under the contract,

design and build the software contracted by SMG.

       24.     In early March 2020, WA&HF delivered an initial release of the GTV product and

Defendant SMG and Guo accepted such delivery.

       25.     Satisfied with the initial product, Guo began soliciting investors for GTV.

       26.     On April 9, 2020, Guo began promoting an investment in GTV.
       27.     On that day, he posted a video to YouTube, which has since been removed by

YouTube for violating its community guidelines, in which he touted GTV as an investment.

       28.     On April 15, 2020, WA&HF officially launched the App on the app store. It was

immediately well received by users.

       29.     On April 17, 2020, Guo incorporated GTV in Delaware.

       30.     On April 20, 2020, Guo recorded a video giving instructions to potential private

placement investors on how to invest in GTV.

       31.     In the video, Guo identified several individuals who would purportedly be directors

of the company.

       32.     Guo also claimed the video was limited to private investors and not the public.
However, this video was uploaded to YouTube by Guo the next day, with no restrictions on who

may view it.

       33.     Along with the video, Guo posted a link to download investment documents,

including a subscription agreement, NDA, a set of “Investment Procedure Guidelines” with

instructions on how to invest, and other investment related documents.

       34.     The YouTube video has been viewed over 2500 times since it was posted.

       35.     Between April 11, 2020 and May 9, 2020, Guo made numerous recorded video

presentations touting the GTV investment and soliciting investments. Guo also touted a form of
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cryptocurrency that would be associated with GTV: “G-Coin”, which investors would purportedly

receive and which, according to Guo, would become highly valuable.

        36.     After being solicited by Guo, on May 2, 2020, Plaintiff signed a Subscription

Agreement to invest as a private placement investor in GTV.

        37.     On May 12, 2020, Guo confirmed Mr. An’s investment via a voice message and

asked Plaintiff to make a wire transfer. Guo promised the investment will generate returns and

stated that if Plaintiff loses money on the investment, Guo will make him whole.

        38.     On May 12, 2020, Plaintiff wired funds to SMG, the designated recipient of

investment funds for investments in GTV.
        39.     On May 13, 2020, GNews, a website connected to GTV that is under Guo’s control,

published an article encouraging readers to invest in GTV. The article stated in Chinese: “The

current financing stage of GTV is the earliest stage and the stage with the highest return. The

investment risk corresponding to this stage is of course the largest theoretically, but the GTV

fundraise is actually a risk-free act of gifting money [to investors].”

        40.     The last line of the article, in bold, stated in Chinese: “Mr. Wengui [Guo] let his

comrades invest in GTV and buy G coins, which is a reward for the sacrifices and contributions

made by all the comrades who broke the news of the revolution. There is no business risk, you just

have to believe in it.”

        41.     On June 2, 2020, Guo announced in a publicly posted video that the “private
placement” had ended with him successfully raising hundreds of millions. He claimed that GTV

is currently valued at $2 billion.

        42.     However, despite claiming that the private placement was over, throughout May

and July 2020, Guo continued to solicit investments, including through at least one more YouTube

video and an article on his website, Gnews.org.

        43.     This offering of GTV securities (the “GTV Offering”) was not registered pursuant

to any law nor subject to any exemption from registration.

        44.     The securities sold in the GTV offering were neither registered as required under
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the Acts, nor subject to any exemption from registration.

          45.   Typically, private placement securities issuers file Form D filings with the SEC

claiming that their private placement sale was exempt from registration because it would comply

with the restrictions in 17 C.F.R. § 203.506 (“Rule 506”).

          46.   On information and belief, Defendants knowingly offered and sold, or were

willfully blind to the fact that they offered and sold, the securities in violation of the restrictions

set forth under Rule 506.

          47.   An issuer may rely on the Rule 506(b) safe harbor under the Securities Act
and/or Section 4(a)(2) only if it does not use general solicitation. As the foregoing discussion
illustrates, Defendants knowingly offered and sold, or were willfully blind to the fact that they

offered and sold, the securities in the GTV Offering through a general solicitation and furthermore,

used general advertising to solicit investors and conduct the sale. They were therefore not entitled

to rely on Rule 506(b).

          48.   That leaves Defendants with Rule 506(c) as the only potential exemption they may

invoke.

          49.   Issuers who wish to rely the Rule 506(c) exemption may engage in general

solicitation “provided that the sales are limited to accredited investors and an issuer takes
reasonable steps to verify that all purchasers of the securities are accredited investors.”
          50.   Defendants did not take any steps to verify that purchasers of GTV securities were
accredited investors.

          51.   In one cogent illustration of this violation of Rule 506(c), defendants’ “investment

procedure guidelines”, which were published along with Guo’s April 20, 2020 YouTube video,

stated, “6. concerning whether investors qualify as ‘qualified investors’, investors are requested to

make their own judgments, do not send information or inquires to us. We cannot make any

judgments.”

          52.   In short Defendants’ offering of GTV securities were not exempt from registration.
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                                   V. CAUSES OF ACTION
             Count I: Violation Of Sections 5 And 12(A)(1) Of The Securities Act
                                  (Against All Defendants)

       53.      Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint.

       54.      This Count is brought pursuant to Sections 5 and 12(a)(1) of the Securities Act, 15

U.S.C. §§ 77e and 77l(a)(1), against all Defendants.

       55.      The interests in GTV marketed by Defendants are securities within the meaning of

Section 2(a)(1) of the Securities Act, 15 U.S.C. § 77b(a)(1).

       56.      Defendants, and each of them, promoted, offered and/or sold securities through the

GTV offering.

       57.      Defendants, and each of them, are issuers, underwriters, and/or necessary

participants of/in the GTV offering.

       58.      No Defendant or other person filed with the SEC a registration statement for the

offer and sale of GTV securities through the GTV offering, no registration statement was in effect

at the time of the GTV offering, and no exemption to the registration requirement was available.

       59.      Defendants, and each of them, used the instrumentalities of interstate commerce in

connection with the offer and sale of GTV securities.

       60.      Plaintiffs hereby incorporate by reference the allegations contained in the preceding

paragraphs of this Complaint.

                    Count II: Violation Of Section 15 Of The Securities Act
                                   (Against Defendant Guo)

       61.      Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint.

       62.      This Count is asserted against Defendant Guo (the “Control Person Defendant”)

under Section 15 of the Securities Act, 15 U.S.C. § 77o.

       63.      The Control Person Defendant, by virtue of his offices, stock ownership, agency,

agreements or understandings, and specific acts was, at the time of the wrongs alleged herein, and
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as set forth herein, a controlling person within the meaning of Section 15 of the Securities Act.

The Control Person Defendant had the power and influence and exercised the same to cause the

unlawful offer and sale of GTV securities as described herein.

       64.     The Control Person Defendant possesses, directly or indirectly, the power to direct

or cause the direction of the management and policies of SMG and GTV, through the ownership

of voting securities, by contract, subscription agreement, or otherwise.

       65.     The Control Person Defendant has sufficient influence to have caused SMG and

GTV to submit a registration statement.

       66.     The Control Person Defendant participated in, and/or aided and abetted, SMG and
GTV’s failure to register the GTV offering.

       67.     By virtue of the conduct alleged herein, the Control Person Defendant is liable for

the wrongful conduct complained of herein and is liable to Plaintiff for rescission and/or damages

suffered.

                      Count III: Violation Of Washington Securities Act
                                  (Against All Defendants)

       68.     Plaintiff hereby incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint.

       69.     This Count is brought pursuant to the Washington Securities Act, RCW 21.20.430

against all defendants.

       70.     Defendants sold unregistered securities to Washington resident.
       71.     Defendants sold unregistered securities, directly or indirectly controlled the seller

of unregistered securities, were a partner, officer, director or person who occupies a similar status

or performs a similar function of such seller of unregistered securities, or were the employee of

such a seller of unregistered securities who materially aided in the sale.

                                  VI. PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for relief and judgment as follows:
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       A.      Declaring that Defendants offered and sold unregistered securities in violation of

the Washington Securities Act and the Securities Act of 1933;

       B.      Awarding Plaintiff the remedy of recovery of the consideration paid for the

securities, together with interest at eight percent per annum from the date of payment, costs, and

reasonable attorneys’ fees, against all Defendants, jointly and severally; and

       C.      Such other and further relief as this Court may deem just and proper.

                                     VII. JURY DEMAND
Plaintiff hereby demands a trial by jury.

                                                                 August 17, 2020

                                                                 AFN Law PLLC


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